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 1 Sue Y. Park (State Bar No. 207624)
     Anton D. Jensen (State Bar No. 198301)
 2 PARK JENSEN LLP
   17541 17th Street, Suite 102
 3 Tustin, CA 92780
   Ph: 714-389-9836
 4 sue@parkjensenlaw.com
   tjensenesq@gmail.com
 5
     Attorneys for Plaintiff Jung Ho (John) Souh, as Administrator
 6 of the Estate of Jung Jun Souh

 7 Sean P. Nalty CA Bar No. 121253
     sean.nalty@ogletree.com
 8 OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     One Embarcadero Center, Suite 900
 9 San Francisco, CA 94111
     Telephone: 415-442-4810
10 Facsimile:   415-442-4870
11
   Attorneys for Defendant
12 SUN LIFE ASSURANCE COMPANY OF CANADA

13
                          UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15
   JUNG HO (JOHN) SOUH, AS        ) Case No.: 2:22-CV-00321-JAK-AS
16 ADMINISTRATOR OF THE ESTATE OF))

17 JUNG JUN SOUH,
                                  ) JOINT REPORT RE AGREED
                                  ) UPON PRIVATE NEUTRAL
                                  )
18           Plaintiff,           )
                                 )
19                               )
        v.                       )
20                               )
                                 )
21 SUN LIFE ASSURANCE COMPANY OF )
     CANADA; and DOES 1 through 10,
22

23               Defendants.

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                        JOINT REPORT RE AGREED UPON PRIVATE NEUTRAL
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 1        The parties have agreed upon private mediator Arnold Levinson of ADR
 2 Services, Inc. and are in the process of scheduling a mediation.

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 4                                  Respectfully submitted,
 5
     Dated: May 2, 2022              PARK JENSEN LLP
 6
                                       By: /s/ Anton D. Jensen
 7                                         Anton D. Jensen
 8                                         Sue Y. Park
                                      Attorneys for Plaintiff Jung Ho (John) Souh,
 9                                    as Administrator of the Estate of Jung Jun Souh
10   Dated: May 2, 2022              OGLETREE, DEAKINS, NASH, SMOAK &
11
                                     STEWART, P.C.
                                      By: /s/ Sean P. Nalty
12
                                          Sean P. Nalty
13                                   Attorneys for Defendant Sun Life Assurance
                                     Company of Canada
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                        JOINT REPORT RE AGREED UPON PRIVATE NEUTRAL
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